            Case 1:23-cv-00108-LMB-JFA                Document 180          Filed 05/06/23         Page 1 of 1 PageID#
                                                            1342
                                        IN THE UNITED STATES DISTRICT COURT.
                                        FOR THE EASTERN DISTRICT, OF VIRGINIA

      APPLICATION TO QUALIFY AS A FOREIGN ATTORNEY UNDER LOCAL CIVIL RULE 83.1(D) AND LOCAL
                                        CRIMINAL RULE 57.4
                   In Case Number 1:23-cv-00108      , Case Name United States, et al. v. Google LLC
                   Party Represented by Applicant:Google LLC

To: The Honorable Judges of the United States District Court for the Eastern District of Virginia

                                                     PERSONAL STATEMENT
FULL NAME (no initials, please) William Isaacson
Bar Identification Number 414788              State District of Columbia
Firm Name    Paul, Weiss, Rifkind, Wharton & Garrison LLP
Firm Phone #202-223-7300                   Direct Dial # 202-223-7313                           FAX # 202-379-4937
E-Mail Address wisaacson@paulweiss.com
Office Mailing Address 2001 K Street, NW Washington, DC 20006-1047

Name(s) of federal district court(s) in which I have been admitted D.D.C.; D. Colo.

I certify that the rules of the federal court in the district in which I maintain my office extend a similar pro hac vice admission
privilege to members of the bar of the Eastern District of Virginia.

I have not been reprimanded in any court nor has there been any action in any court pertaining to my conduct or fitness as a
member of the bar.

I hereby certify that, within ninety (90) days before the submission of this application, I have read the Local Rules of this Court
and that my knowledge of the Federal Rules of Civil Procedure, the Federal Rules of Criminal Procedure, and the Federal Rules of
Evidence is current.

I am 0 am not lila full-time employee of the United States of America, and if so, request exemption from the admission fee.

                                                                                       (Ai                liev•
                                                                                      (Applicant's Signature)

I, the undersigned, do certify that I am a member of the bar of this Court, not related to the applicant; that I know the applicant
personally, that the said applicant possesses all of the qualifications required for admission to the bar of this Court; that I have
examined the applicant's personal statement. I affirm that his/her personal and professional character and standing are good, and
petition the court to admit the applicant pro hac vice.
                                                                                                                 05/06/2023
                                                  (Signature)                                                   (Date)
                                                   Bryon P. Becker                                               93384
                                                  (Typed or Printed Name)                                       (VA Bar Number)
Court Use Only:

Clerk's Fee Paid ❑ or Exemption Granted ❑

The motion for admission is GRANTED El or DENIED 0




                         (Judge's Signature)                                                  (Date)
